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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

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 --                                          :
 JPMORGAN CHASE BANK, NATIONAL               :
 ASSOCIATION, LONDON BRANCH,                 :
                                             : Case No. 1:21-cv-09441-PGG
                      Plaintiff,             :
                                             :
          - against -                        : STIPULATION AND
                                             : ORDER REGARDING
 TESLA, INC.,                                : CASE DEADLINES
                                             :
                                             :
                      Defendant.
                                             :
                                             :
 ------------------------------------ X
 --
     WHEREAS, Plaintiff JPMorgan Chase Bank, National Association, London Branch

(“JPMorgan”) and Defendant Tesla, Inc. (“Tesla,” and together with JPMorgan, the “Parties”)

have exchanged discovery requests on December 16, 2021, January 11, 2022, and July 8, 2022;

       WHEREAS, the Parties have exchanged responses to discovery requests on January 18,

2022, February 10, 2022, and August 8, 2022;

       WHEREAS, the Parties have commenced document productions;

       WHEREAS, the Parties require additional time to complete fact discovery, which is

currently scheduled to be completed by September 14, 2022;

       WHEREAS, a pretrial conference is currently scheduled for October 6, 2022;

       WHEREAS, JPMorgan and Tesla have agreed to modify the schedule as set forth below;

       WHEREAS, the Parties have not previously requested an extension of these deadlines;

       ACCORDINGLY, IT IS HEREBY STIPULATED AND AGREED by and between the

undersigned attorneys for the Parties that the following case deadlines shall apply:
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 1.      Substantial Completion of Document Productions. The Parties shall complete

         their document productions by December 16, 2022. The current deadline for

         completion of fact discovery, including document productions, is September 14,

         2022.

 2.      Requests for Admission. The Parties shall serve all requests for admission by

         February 3, 2023. The current deadline for service of requests for admission was

         August 28, 2022, which the Parties agreed to adjourn while they negotiated an

         overall revised case schedule.

 3.      Privilege Logs. The Parties shall exchange privilege logs by February 3, 2023.

         There is currently no deadline in the schedule for this exchange.

 4.      Fact Discovery. All fact discovery, including depositions, shall conclude by

         March 24, 2023. The current deadline for completion of fact discovery is

         September 14, 2022.

 5.      Affirmative Expert Disclosures and Reports. The Parties shall make their

         affirmative expert disclosures and exchange affirmative expert reports by April

         21, 2023. The current deadline for affirmative expert disclosures and exchange of

         affirmative expert reports is September 28, 2022.

      6. Pretrial Conference. The Parties are available for a pretrial conference on April

         27, 2023, if convenient for the Court. The current date for the pretrial conference

         is October 6, 2022; the Parties are available for a status conference on this date,

         if amenable to the Court.

 7.      Rebuttal Expert Disclosures and Rebuttal Reports. The Parties shall make

         their rebuttal expert disclosures and exchange rebuttal expert reports by May 19,

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       2023. The current deadline for rebuttal expert disclosures and exchange of

       rebuttal expert reports is October 29, 2022.

 8.    Reply Expert Reports. The Parties shall exchange their reply expert reports by

       June 9, 2023. There is currently no deadline in the schedule for this exchange.

 9.    Completion of Expert Discovery. All expert discovery, including depositions,

       shall conclude by June 30, 2023. The current deadline for completion of expert

       discovery is December 2, 2022.

 10.   Post-Discovery Dispositive Motion Letters. Post-discovery dispositive motion

       letters shall be filed by July 28, 2023. The current deadline for filing of post-

       discovery dispositive motion letters is December 12, 2022.

 11.   Response to Post-Discovery Dispositive Motion Letters. Responses to post-

       discovery motion letters shall be filed by August 8, 2023. The current deadline

       for filing of responses to post-discovery dispositive motion letters is December

       19, 2022.




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SO STIPULATED AND AGREED.

Dated: September 12, 2022




DAVIS POLK & WARDWELL LLP                        QUINN EMANUEL URQUHART &
                                                 SULLIVAN LLP

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Memo Endorsed: The discovery deadlines are extended as set forth above. The conference currently
scheduled for October 6, 2022 is adjourned to April 27, 2023 at 11:00 a.m. in Courtroom 705 of the
Thurgood Marshall U.S. Courthouse, 40 Foley Square, New York, New York.
SO ORDERED.



___________________________
Hon. Paul G. Gardephe
United States District Court Judge
Dated: September 15, 2022



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